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                      UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEW HAMPSHIRE



David J. Widi, Jr.

    v.                                         Civil No. 14-cv-160-SM

Federal Bureau of Prisons et al.1



                        REPORT AND RECOMMENDATION

     Plaintiff David Widi’s complaint in this removal action

(doc. no. 2, at pp. 2-43) is before this court for preliminary

review pursuant to 28 U.S.C. § 1915A and LR 4.3(d)(1).            See

Crooker v. Burns, 544 F. Supp. 2d 59, 67 (D. Mass. 2008)

(complaints in removal actions are subject to review under 28

U.S.C. § 1915A).



                       Preliminary Review Standard

     In determining whether a pro se pleading states a claim,


     1
      Defendants named in this action are the Federal Bureau of
Prisons; United States Probation and Pretrial Services;
Probation Officer Scott Hastings; Federal Correctional
Institution (“FCI”) Ray Brook Warden Donald Hudson; FCI Ray
Brook Case Management Coordinator Gaunyea, whose first name is
unknown (“FNU”); FCI Ray Brook Unit Manager David Salamy; FCI
Ray Brook Case Managers FNU Glue and Y. Matteau; FCI Berlin
Warden Esker Tatum; FCI Berlin Case Management Coordinator Dan
Sullivan; FCI Berlin Unit Manager Wanda Mullins; and FCI Berlin
Correctional Counselors L. Hogan and FNU Langley.
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for the purposes of this court’s preliminary review of prisoner

pleadings under 28 U.S.C. § 1915A and LR 4.3(d)(1), the court

construes the pleading liberally.      See Erickson v. Pardus, 551

U.S. 89, 94 (2007).   Disregarding any legal conclusions, the

court considers whether the factual content in the pleading and

inferences reasonably drawn therefrom, taken as true, state a

plausible claim to relief.    Hernandez-Cuevas v. Taylor, 723 F.3d

91, 102-03 (1st Cir. 2013) (citing Ashcroft v. Iqbal, 556 U.S.

662, 678 (2009)).



                              Background

    Widi is currently incarcerated at the Federal Correctional

Institution (“FCI”) in Berlin, New Hampshire.        Widi’s medium

security classification at FCI Berlin is based on what Widi

alleges is an improperly elevated criminal history score.            Widi

asserts that his present score exceeds that which appears in the

Presentence Report (“PSR”) prepared by Probation Officer Scott

Hastings, which the trial court used in sentencing Widi.

    Widi was previously an inmate at FCI Ray Brook in New York.

Widi alleges that on January 8, 2014, FCI Ray Brook defendants

Salamy, Glue, and Matteau, knowing that Widi had filed

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administrative grievances against unspecified FCI Ray Brook

staff, together agreed to raise Widi’s criminal history score to

a level IV in a manner Widi asserts was contrary to BOP

policies, falsely assigned Widi an extra custody point for

abusing drugs or alcohol in the last five years, and arranged

for Widi’s transfer to FCI Berlin, a medium security facility

allegedly known for “deplorable” conditions.       Widi asserts that,

but for the improper elevation of his criminal history score, he

would have been eligible for a transfer to a minimum security

facility on January 8, 2014.     Widi complained to each of the FCI

Ray Brook defendants, including supervisory defendants Hudson

and Gaunyea, and each of them told Widi, on January 9, 2014,

that if Widi had not filed administrative grievances while at

FCI Ray Brook, he would not be going to a medium security

facility.

    Widi further alleges that after his transfer to FCI Berlin,

FCI Berlin defendants Langley and Hogan, citing FCI Berlin

warden Tatum’s policy, refused Widi’s requests for certain forms

necessary to pursue grievances.     Widi asserts that he

complained, by way of an electronic communication to Tatum, that

he had been improperly denied certain grievance forms, and that

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his transfer to FCI Berlin and medium security classification

were not proper.      The warden, in response, stated that

appropriate departments would review Widi’s concerns.

Thereafter, FCI Berlin Case Manager Bradley corrected Widi’s

drug/alcohol abuse point score, but declined to alter the

criminal history score, deferring to defendant Mullens on that

issue.

    Widi asserts that he met several times with defendant

Mullens and provided her with documents to substantiate his

claims regarding his criminal history score, but that Mullens

refused to reduce Widi’s score because she believed that the PSR

criminal history score was incorrect.         Widi further alleges that

Mullens and Tatum each specifically told Widi that he would have

been at a low security facility if he had not filed complaints

concerning prison staff members through the administrative

remedy process at FCI Ray Brook and FCI Berlin.           See Doc. No. 1-

1, at 18-20.     Widi asserts that Case Management Coordinator

Sullivan similarly stated that no change to Widi’s criminal

history score would be effected due to Widi’s filing of

administrative grievances.

    Widi further alleges that at some point prior to February

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6, 2014, Mullens contacted Hastings regarding Widi, and that

Hastings agreed with Mullens that the PSR was incorrect.         Widi

asserts that Hastings never responded to a letter from Widi

complaining about his issues with his criminal history score.

    Widi asserts the following claims for damages and/or

injunctive relief:

         1.   Defendant U.S. Probation and Pretrial Services
    System (“Probation”) willfully and intentionally generated
    inaccurate records relating to Widi by agreeing with BOP
    staff that the PSR was inaccurate, resulting in an adverse
    effect upon Widi, in violation of 5 U.S.C. § 552a(g)(1)(C)
    and rendering Probation liable to Widi under 5 U.S.C.
    § 552a(g)(4).

         2.   Defendant BOP willfully and intentionally
    generated inaccurate records used to calculate Widi’s
    custody score, which denied Widi rights, opportunities,
    benefits, and/or privileges associated with minimum
    security classification, in violation of 5 U.S.C.
    § 552a(g)(1)(C), rendering BOP liable to Widi under 5
    U.S.C. § 552a(g)(4).

         3.   FCI Ray Brook defendants Glue, Matteau, Salamy,
    Gaunyea, and Hudson violated Widi’s rights under the First
    Amendment by (a) miscalculating Widi’s custody score to
    keep him at a medium security level, and (b) effecting
    Widi’s transfer to FCI Berlin, in retaliation for Widi’s
    filing of administrative grievances at FCI Ray Brook.

         4.   FCI Berlin defendant Mullens violated Widi’s
    rights under the First Amendment by refusing to correct
    Widi’s custody level calculation, in order to keep Widi
    classified as a medium security inmate, in retaliation for
    Widi’s filing of administrative grievances.

         5.    FCI Berlin supervisors Tatum and Sullivan
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     violated Widi’s rights under the First Amendment, in that
     they were aware of the unconstitutional retaliatory actions
     taken by Mullens and approved and authorized those actions,
     because they intended to retaliate against Widi for filing
     administrative grievances.

          6.   Defendant Probation Officer Hastings violated
     Widi’s rights under the First Amendment, in that Hastings
     knowingly agreed with and authorized Mullens’s incorrect
     assessment of Widi’s criminal history score, to retaliate
     against Widi for filing administrative grievances.

          7.   FCI Berlin defendants Hogan and Langley violated
     Widi’s rights under the First Amendment, in that they
     refused to provide Widi with forms necessary to pursue
     administrative grievances at FCI Berlin, to retaliate
     against Widi for using the administrative remedy process.

          8.   FCI Berlin supervisors Tatum and Mullens violated
     Widi’s rights under the First Amendment, in that they
     approved and authorized Hogan’s and Langley’s conduct in
     refusing Widi the forms needed to utilize the
     administrative remedy process at FCI Berlin.


                              Discussion

I.   Privacy Act Claims (Claims 1 and 2)

     The Privacy Act of 1974, codified in part at 5 U.S.C.
     § 552a, contains a comprehensive and detailed set of
     requirements for the management of confidential records
     held by Executive Branch agencies. If an agency fails to
     comply with those requirements “in such a way as to have an
     adverse effect on an individual,” the Act authorizes the
     individual to bring a civil action against the agency. For
     violations found to be “intentional or willful,” the United
     States is liable for “actual damages.”

F.A.A. v. Cooper, 132 S. Ct. 1441, 1446, 182 L. Ed. 2d 497

(2012) (citations omitted).
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    A.      Probation (Claim 1)

    Widi asserts in Claim 1 above that Probation is liable for

maintaining inaccurate records, which BOP used (a) to assign an

improperly elevated criminal history score to him, and (b) to

classify him as a medium security inmate.          The Privacy Act

imposes duties only on “Executive Branch agencies,” see id.,

however, and as Probation is a unit of the federal courts, it is

not properly named as a defendant to a Privacy Act claim.               See

Ramirez v. Dep’t of Justice, 594 F. Supp. 2d 58, 62 (D.D.C.

2009), aff’d, No. 10-5016, 2010 WL 4340408 (D.C. Cir. Oct. 19,

2010).    Accordingly, Claim 1 above should be dismissed, and the

Probation should be dropped from this action.

    B.      BOP (Claim 2)

    Widi has alleged in Claim 2, above, that BOP is liable for

wilfully and intentionally using inaccurate records to classify

him as a medium security inmate, adversely affecting him by

denying him the privileges and benefits associated with a

minimum security classification.          That claim, however, is not

viable, as the BOP has exercised its authority under the Privacy

Act, 5 U.S.C. § 552a(j)(2), to exempt from the Act’s civil

enforcement provisions “several systems of records the agency

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keeps,” including the Inmate Central Records System, under 28

C.F.R. 16.97(j).      Pagani-Gallego v. Sabol, No. CIVA 07-40016-

PBS, 2008 WL 886032, at *6 (D. Mass. Mar. 27, 2008).          The

complaint indicates that the Inmate Central Records System

contains the records at issue in this case.        Therefore, Widi has

“no cause of action under [the Privacy Act] for money damages or

injunctive relief” relating to BOP’s alleged wilful and

intentional use of allegedly inaccurate records in classifying

Widi as a medium security inmate.       Id., 2008 WL 886032, at *6

(dismissing similar claim) (citing Martinez v. Bureau of

Prisons, 444 F.3d 620, 624 (D.C. Cir. 2006) (per curiam); Scaff-

Martinez v. Bureau of Prisons, 160 F. App’x. 955, 956-57 (11th

Cir. 2005) (per curiam); Collins v. Bureau of Prisons, No.

5:06cv129, 2007 WL 2433967, at *3 (S.D. Miss. Aug. 2, 2007)).

Therefore, Claim 2, above, should be dismissed, and BOP should

be dropped from this action.

II.   Retaliation (Claims 3-8)

      A.   Elements

      To state a claim for retaliation for the exercise of First

Amendment rights, an inmate must allege: (1) that the conduct

which led to the retaliation was protected by the First

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Amendment; (2) that he suffered adverse action at the hands of

the prison officials; and (3) that there was a causal link

between the exercise of his First Amendment rights and the

adverse action taken.   See Hannon v. Beard, 645 F.3d 45, 48 (1st

Cir. 2011).   De minimis reactions to protected speech are not

actionable.   See Morris v. Powell, 449 F.3d 682, 685-86 (5th

Cir. 2006).   An adverse act taken in response to protected

conduct is not de minimis, however, if it would deter an

individual of ordinary firmness from exercising First Amendment

rights.   See id.

    B.    FCI Ray Brook Defendants (Claim 3)

    In Claim 3, Widi alleges that FCI Ray Brook defendants

improperly classified him as a medium security inmate, and

transferred him to FCI Berlin, when he would otherwise have been

eligible for a transfer to a minimum security facility, in

retaliation for Widi’s filing of grievances at FCI Ray Brook.

Widi’s allegations appear sufficient to warrant service upon the

FCI Ray Brook defendants, and for that reason, the court, on

this date, has directed service of Claim 3 upon defendants

Hudson, Gaunyea, Salamy, Glue, and Matteau.       The court’s order

directing service upon those defendants does not bar defendants

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from asserting any available defense or other response to Claim

3, including an argument that this claim should be dismissed, or

transferred, because this court lacks personal jurisdiction over

the FCI Ray Brook defendants.

    C.    Mullens, Sullivan, and Tatum (Claims 4 and 5)

    Widi has further alleged that defendants Mullens, Sullivan,

and Tatum did not properly recalculate Widi’s criminal history

score, thereby depriving Widi of an opportunity to be

transferred to a minimum security facility, in order to

retaliate against Widi for filing administrative grievances.

The facts alleged in the complaint are sufficient, at this stage

of the case, to warrant service of Claims 4 and 5 against those

FCI Berlin defendants, and, accordingly, the court has directed

service of the complaint upon Mullens, Sullivan, and Tatum.

    D.    Hastings (Claim 6)

    Widi has alleged that Probation Officer Hastings’

acquiescence in and approval of Mullens’ recalculation of Widi’s

criminal history score was a conspiratorial and retaliatory act

taken against Widi for exercising his First Amendment rights.

The allegations underlying those claims, however, when stripped

of legal conclusions, lack specific factual allegations

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sufficient to show that Hastings took any retaliatory adverse

action against Widi.    Because Widi has failed to plead facts

showing the requisite causal connection, the claim against

Hastings, identified as Claim 6 above, should be dismissed, and

Hastings should be dropped from this action.

    E.    Grievance Forms (Claims 7 and 8)

    As to Claim 7, Widi has failed to show more than de minimis

retaliatory conduct.    Widi alleges that prison officers

retaliated against him for filing grievances by denying him

access to certain grievance forms.      Widi has pleaded facts,

however, showing that he was able to raise concerns through the

prison system about the grievance process, his transfer, and his

custody score.   Widi obtained some relief from prison officials,

in that prison officials rectified the erroneous inclusion of an

extra point for drug/alcohol abuse in Widi’s custody score.

This court concludes that no inmate of ordinary firmness, in

Widi’s circumstances, would be deterred from filing grievances

for fear that requisite grievance forms would not be tendered in

the future upon request.    See Green v. Snyder, 525 F. App’x 726,

730 (10th Cir. 2013).    Accordingly, the district judge should

dismiss Claim 7 for failure to state a plausible claim for

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relief.    Claim 8 should also be dismissed, as there can be no

supervisory liability for subordinates’ conduct that does not

violate the federal constitution.



                                 Conclusion

    For the foregoing reasons, the district judge should

dismiss Widi’s Privacy Act claims (Claims 1 and 2, above),

Widi’s First Amendment retaliation claim against defendant

Hastings (Claim 6 above), and First Amendment retaliation and

supervisory liability claims against Hogan, Langley, Mullens,

and Tatum, arising out of the refusal to provide Widi with

grievance forms (Claims 7 and 8 above).

    The district judge should further order that defendants

Federal Bureau of Prisons, the United States Probation and

Pretrial Services, L. Hogan, FNU Langley, and Scott Hastings be

dropped from this case.       In a separate order issued this date,

the court has directed service of the complaint upon the

remaining defendants, with respect to Claims 3-5, numbered

above.

    Any objections to this Report and Recommendation must be

filed within fourteen days of receipt of this notice.            See Fed.

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R. Civ. P. 72(b)(2).       Failure to file objections within the

specified time waives the right to appeal the district court’s

order.    See United States v. De Jesús-Viera, 655 F.3d 52, 57

(1st Cir. 2011); Sch. Union No. 37 v. United Nat’l Ins. Co., 617

F.3d 554, 564 (1st Cir. 2010) (only issues fairly raised by

objections to magistrate judge’s report are subject to review by

district court; issues not preserved by such objection are

precluded on appeal).




                                    __________________________
                                    Andrea K. Johnstone
                                    United States Magistrate Judge


June    24, 2014

cc:    David J. Widi, Jr.
       T. David Plourde, Esq.




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